(Rev. 1/18) Petition for Admission Pro Hac Vice

                          IN THE UNITED STATES DISTRICT COURT FOR
                              THE WESTERN DISTRICT OF MISSOURI

                                  PETITION FOR ADMISSION PRO HAC VICE

                                                    Affidavit of Movant

            Jason N.W. Plowman
         I,________________________________,            an active member in good standing of the Bar of the United States
District Court for the Western District of Missouri, request that this court admit pro hac vice,
__________________________,
Jeremy P. Blumenfeld                an attorney admitted to practice in a United States District Court, but not admitted to the
Bar of this court, who will be counsel for the Defendants                      , in the case(s) listed below. I am aware that the
local rules of this court require that I participate in the preparation and presentation of said case(s), and that I accept
service of all papers served. I also understand and agree that if the admittee does not sign up to receive CM/ECF filings, I
will be responsible for notifying the admittee of all papers served by CM/ECF.

/s/ Jason N.W. Plowman                                              ______________________________________
                                                                    67495
Signature of Movant/Attorney                                        MO Bar Number

July 21, 2021
____________________________________                                Polsinelli PC
                                                                    ______________________________________
Date                                                                Address

816.416.0703
____________________________________                                900 W. 48th Place, Suite 900
                                                                    ______________________________________
Phone
                                                                    Kansas City, MO 64112
                                                                    ______________________________________

                                             Affidavit of Proposed Admittee
            Jeremy P. Blumenfeld
         I, ______________________________________________________               , certify that I reside outside the
boundaries of the Western District of Missouri and I am not admitted to the Bar of this court. I am a member in good
                             see attached
standing in the state(s) of ___________________________      and the United States District Court(s) of
___________________________________________________________.
see attached                                                                (Attach additional page if necessary.)
Pursuant to Local Rule 83.5(h), I certify I am a member in good standing in all bars of which I am a member. I
understand that if this court grants me admission pro hac vice, the movant bringing this motion must participate in the
preparation and presentation of the matters listed below, and must accept service of all papers served. I am aware that I
can register to receive CM/ECF filings. I understand and agree that should I choose not to register for CM/ECF, I will
arrange with movant to keep me advised of papers served and filed in this case.

Case Number(s):                                            Case Title(s)
5:20-cv-06067-SRB
_____________________________                      Lipari-Williams, et al. v. Penn National Gaming, Inc., et al.
                                                   ____________________________________________________
_____________________________                      ____________________________________________________
_____________________________                      ____________________________________________________

      July 21, 2021
Date: _______________________                                  /s/ Jeremy P. Blumenfeld
                                                   Signature: __________________________________________

State Bar of Residence & Bar Number:                                     Morgan, Lewis & Bockius, LLP, 1701 Market St.
                                                                Address: __________________________________
Pennsylvania - No. 85955
_________________________________
                                                                             Philadelphia, PA 19103
                                                                             __________________________________

       215.963.5000
Phone: ___________________________________                             jeremy.blumenfeld@morganlewis.com
                                                                Email: _____________________________________

Pursuant to WDMO Local Rule 83.5(h) a fee of $100 is required for each case in which the attorney is seeking
admittance.
                   Case 5:20-cv-06067-SRB Document 78 Filed 07/21/21 Page 1 of 2
                                        Exhibit A

                                  Jeremy P. Blumenfeld

                                 State Court Admissions
   New Jersey
   New York
   Ohio
   Pennsylvania

                               U.S. District Court Admissions
   U.S. District Court for the District of Colorado
   U.S. District Court for the Northern District of Illinois
   U.S. District Court for the Central District of Illinois
   U.S. District Court for the Eastern District of Michigan
   U.S. District Court for the Western District of Michigan
   U.S. District Court for the District of New Jersey
   U.S. District Court for the Southern District of New York
   U.S. District Court for the Northern District of Ohio
   U.S. District Court for the Southern District of Ohio
   U.S. District Court for the Eastern District of Pennsylvania
   U.S. District Court for the Eastern District of Wisconsin




      Case 5:20-cv-06067-SRB Document 78 Filed 07/21/21 Page 2 of 2
